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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  OSTEOPLASTICS, LLC,

               Plaintiff,

        v.                                      C.A. No. 20-405-MN

  CONFORMIS, INC.,

            Defendant.
  OSTEOPLASTICS, LLC,

               Plaintiff,

        v.                                      C.A. No. 20-406-MN

  DEPUY SYNTHES, INC., DEPUY
  SYNTHES PRODUCTS, INC., MEDICAL
  DEVICE BUSINESS SERVICES, INC.,
  AND SYNTHES, INC.

            Defendants.
  OSTEOPLASTICS, LLC,

               Plaintiff,

        v.                                      C.A. No. 20-407-MN

  ZIMMER BIOMET HOLDINGS, INC.
  AND ZIMMER, INC.

               Defendants.

                         PLAINTIFF’S BRIEF IN OPPOSITION
                        TO DEFENDANTS’ MOTION TO DISMISS

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 I.     INTRODUCTION

        At the time of Osteoplastics’ inventions, researchers had been working for at least a

 decade on computer-based approaches for designing custom medical devices. Some of the more

 advanced approaches at that time used image data of a patient’s anatomy and attempted to create

 or modify a computer representation of healthy anatomy to determine the medical device shape

 for a specific patient. Defendants describe several examples of these computer-based methods,

 but leave out the fact they all suffered from serious shortcomings and could not reliably create a

 medical device that precisely fit patients’ anatomy.

        These shortcomings are what drove a distinguished group of individuals affiliated with

 Case Western Reserve University (“CWRU”) to invent the patented technology in the late 1990s.

 The inventors include the former Chairman of the Department of Neurological Surgery at

 CWRU Medical School and University Hospitals of Cleveland, Dr. Robert Ratcheson, and

 Dr. David Dean, an expert in regenerative medicine.1 The patented inventions improved on

 existing approaches with specific techniques claimed in the seven asserted patents.2 Because the

 claimed techniques address and improve upon existing computer-based approaches, they are

 neither abstract nor ineligible subject matter under well-established precedent.

        Defendants’ motion ignores most of the claims in the asserted patents (addressing only

 one of them), ignores the actual claim language that describes specific improvements over

 existing computer-based approaches, and ignores the nearly 50 figures and over 40 columns of

 description of the inventions. Instead, Defendants oversimplify the claims to strip them of all



 1
   CWRU later assigned its rights in the asserted patents to the inventors’ company, Plaintiff
 Osteoplastics, LLC.
 2
   The asserted patents include Patent No. 8,781,557, No. 9,929,920, No. 9,330,206, No.
 9,626,756, No. 9,672,617, No. 9,672,302, and No. 9,275,191. These patents are referenced
 herein by their last three digits.


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 meaning and rely on vague characterizations about their “basic process” or “basic steps.”

 Defendants take this approach to an extreme when they contend (at 1) that the claims “attempt to

 cover a physician who sits down at any computer terminal, looks at any 3D image of defective

 bone, places over it any image of intact bone, and tinkers with that shape using his or her brain

 and the computer.” This level of “analysis” falls well short of the rigor required to invalidate

 every claim in the seven asserted Osteoplastics patents—claims that the patent office issued over

 prior computer-based methods and found to claim eligible subject matter under § 101. The

 Federal Circuit has cautioned against looking at the claims generally and failing to account for

 their specific, concrete requirements as Defendants do here.

        Defendants are also wrong that the claims lack an inventive concept under the second

 step of the § 101 inquiry. The claims each recite specific, narrowly-drawn steps and techniques

 for designing and fabricating medical devices. They do not cover conventional, well-understood

 techniques for computer-based medical device design or preclude them. They also do not

 preclude the many other computer-based methods that attempted (but failed) to create suitable

 custom devices. These methods were available to Defendants if they had chosen to use them.

        As for Defendants’ infringement arguments, the Amended Complaint and attached claim

 charts contain detailed factual allegations that provide Defendants fair notice of the activities

 accused of infringement under § 271(a) and § 271(g). Likewise, Osteoplastics’ willful

 infringement allegations exceed that required to satisfy the notice pleading standard in patent

 cases. Defendants’ motion effectively asks the Court to create a new and heightened pleading

 standard that requires plaintiffs to prove their case at the pleading stage. The Court has declined

 this approach in the past and Osteoplastics respectfully requests the Court do so here.




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  II.    NATURE AND STAGE OF PROCEEDINGS

         On April 2, 2020, Osteoplastics filed Amended Complaints against the Defendants

  alleging infringement of seven patents. Osteoplastics filed these Complaints shortly after it

  resolved another patent infringement litigation in the District of Colorado filed in 2018, which

  involved many of the asserted patents. The defendants in that case (3D Systems Corporation, 3D

  Systems, Inc., and Medical Modeling, Inc., collectively, “3DS”) agreed to a royalty on the

  methods accused of infringement. At the time of the agreement, the parties had briefed their

  claim construction disputes, which involved ten claim terms including eight referenced in claim

  1 of the ’206 patent. The Colorado court had not yet heard argument when the case was resolved

  and did not construe any of the disputed terms. Nevertheless, the claim construction briefing and

  evidence is publicly available, which includes a declaration from an expert in the field that

  addresses the meaning of several terms raised in Defendants’ motion.3

  III.   SUMMARY OF THE ARGUMENT

         1.      The asserted patents claim patentable subject matter under step one of the Alice

  framework because they are directed to improvements over existing computer-based methods of

  designing custom medical devices. Defendants’ motion improperly focuses on one claim from

  the seven patents and then glosses over the actual claim language that sets forth specific

  techniques demonstrating the claims are not abstract. The Osteoplastics claims are similar to

  other claims that the Federal Circuit has found patent-eligible under step one of Alice.

         2.      Osteoplastics’ patents claim an inventive concept under step two of Alice. They

  capture significant improvements in the quality of custom medical devices as well as surgical




  3
   Attached as Exhibit 1 is the Declaration of Dr. Milan Sonka that was filed in support of
  Osteoplastics’ responsive claim construction brief in the Colorado action.


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  outcomes. Moreover, Defendants’ discussion of several prior art methods that fall outside the

  scope of Osteoplastics’ claims further shows there are no legitimate concerns of preemption.

         3.      The allegations and attached claim charts in Osteoplastics’ Amended Complaints

  are more than sufficient to state a claim for infringement under § 271(g). Osteoplastics’

  infringement allegations identify the patented methods used in the manufacture of Defendants’

  infringing products. Nothing more is required to show infringement under § 271(g).

         4.      Osteoplastics’ Amended Complaint against the DePuy Defendants includes

  sufficient allegations of patent infringement and complies with Rule 8. The Amended Complaint

  includes infringement claim charts that explain how each DePuy Defendant performs each step

  of the claims. Moreover, in pre-suit communications between the parties, DePuy refused to

  provide Osteoplastics with information relating to their infringing activities. Osteoplastics’

  filing—based on publicly-available information and relying on the Hoffman-La Roche line of

  cases—meets the pleading requirements. Osteoplastics’ willful infringement claims are also

  sufficient because they allege pre-suit knowledge and infringement of three patents.4

  IV.    STATEMENT OF FACTS

         A.      At the Time of the Invention, There Were Significant Shortcomings with
                 Computer-Based Methods of Designing Custom Medical Devices.

         Before researchers began designing custom medical devices, the standard of care was to

  use mass-produced “shapes” chosen based on external measurements of the patient’s anatomy.

  (’557 Patent at 4:21-23.)5 In most cases, the surgeon had to remove portions of the patient’s



  4
    Osteoplastics does not oppose the dismissal of MDBS from the -406 action and will accept the
  representations that it has no regular and established place of business in this District.
  5
    Unless otherwise indicated, all patent citations are to the ’557 patent. The specifications of the
  asserted patents are identical, except that the ’557 patent and its continuations disclose additional
  embodiments of the patented technology (described, e.g., in Figs. 45-49 and columns 7 and 36-
  44 of the ’557 specification).


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  bony anatomy during the surgical procedure to obtain the proper fit with the device. (4:23-25.)

  As a result, these off-the-shelf medical devices caused longer surgeries, introduced

  complications, and lengthened patient recovery times. (4:44-50.)

         The medical field was well aware of the problems with mass-produced, off-the-shelf

  devices. (4:32-39.) By the time of Osteoplastics’ invention, numerous researchers had been

  working for at least a decade on ways to create custom medical devices that achieved better

  patient outcomes. Many of these methods focused on the use of computer-readable image data

  from individual patients (such as CT scans) and computer-aided design (CAD) to create the

  shape of the patient’s medical device. The Background Section of the Osteoplastics patents

  references several of these approaches. (E.g., 1:29-35.) Defendants also highlight some of them

  in their brief. For example, the Reuben reference discloses the use of patients’ anatomical data

  in combination with “conventional steps using a commercially available CAD CAM system” to

  create prostheses. (E.g., Defs’ Ex. 1 (’565 patent), at 2:62-68.) Similar methods are disclosed in

  White (Pat. No. 4,436,684, Ex. 2) and Swaelens (Pat. No. 5,768,134, Ex. 3). These references

  disclose methods that include “manipulating [a] graphic tablet instrument” to manually create,

  translate, or delete components of a 3D medical device design. (E.g., ’684 at 17:3-10.) Other

  methods involved adding “artificial functional element[s]” to a 3D image of patient anatomy to

  build a device from scratch based on operator input. (E.g., ’134 at 4:20-34.)

         Some prior art methods did not build devices “from scratch,” but instead used static

  three-dimensional images as an aid for medical device designs. For example, D’Urso (Pat. No.

  5,741,215, Defs’ Ex. 2) and Ahrens (EP0255797) disclose the use of static mirror images of

  healthy portions of patient anatomy to create prostheses. In these methods, an operator could

  create the medical device shape by combining a mirror image with an image of a defect in the




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  anatomy, then “nullifying” (or subtracting) the existing anatomy to obtain an image “in the

  region of the defect.” (E.g., ’215 at 8:7-23; see also Defs’ Ex. 4 at 6 (Applicant’s remarks on

  Ahrens during prosecution).) Other references, such as Delp, disclose overlaying pre-determined

  shapes of cutting jigs or “sizing templates” on patient images to guide surgeons in modifying

  and/or cutting away portions of the existing anatomy. (See Defs’ Ex. 3 at 9 (Applicant’s remarks

  on Delp during prosecution).)

         All of these computer-based methods suffered from disadvantages that limited their

  usefulness. (E.g., 1:19-4:56.) In general, prior art methods of “tinkering” with medical device

  shapes (as Defendants would put it) did not ensure that the custom medical device was of correct

  size and shape to fit to the existing anatomy. If an implant did not fit well enough, the patient

  could experience complications such as pain, atrophy, mechanical failure of the implant or the

  surrounding tissue, or rejection of the implant. (4:29-53.)

         B.      The Inventors Developed Novel Techniques for Designing Medical Devices
                 that Overcame the Problems with Existing Methods.

         Osteoplastics’ inventions overcame these problems and provided a significant advance

  over existing computer-based methods of designing and fabricating custom devices. (E.g., 1:19-

  7:61.) The claimed methods involved obtaining computer-readable image data of a patient.

  Notably, as shown in Fig. 1A below, the 3D representation of the patient anatomy from the

  image data includes a portion 18 with a defect and a portion 20 without a defect. (10:45-52.)




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         The claims describe various embodiments with various techniques to design the shape of

  the medical device. These steps can include, for example, the identification of anatomical

  landmarks in the patient image that serve as reference points for the design process. (3:31-45,

  20:29-33, 29:25-46, Fig. 19B.) The methods can also include the step of “superimposing” a

  deformable template onto the representation of the patient anatomy. To “superimpose” the

  patient’s image data and the template data, the computer correlates the homologous anatomical

  features of the template and the representation of the target tissue. The template is a three-

  dimensional shape that represents a normative (e.g., non-distorted) shape of the patient anatomy.

  (10:45-54.) The patents explain that the shape of the template can be based on averaged data,

  mirror image data, standard data, or data from a relative. (3:52-55, 5:25-27, 42:7-9.) This use of

  a template is an improvement over “conventional” prior art methods for designing medical

  devices “from scratch” or methods involving manual modification of 3D images.

         Using the identified anatomical landmarks on the template and the representation of the

  patient’s tissue, the computerized methods include “deforming” the template. “Deforming”

  changes the shape of the template in three dimensions relative to the 3D representation of the

  patient anatomy so that the anatomical features of the template match the corresponding

  anatomical features of the representation of the patient's tissue and maintain the homology

  between those anatomical features. (E.g., Figs. 21A-21B.) The “superimposing” and

  “deforming” steps improve on prior art methods that used static shape data (e.g., mirror images

  or “sizing templates”) to define the shape of a device, without modifying the contours of the

  shape to match the existing anatomy.




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  After the template is deformed (e.g., Fig. 2, step G), it can be used to determine a medical device

  shape (e.g., Step I). In the case of an implant that replaces missing or defective bony structure,

  the medical device can be fabricated and then placed in the patient’s anatomy (e.g., Step J). By

  “deforming” the template as claimed, the custom medical device achieved a precise fit that

  greatly improves patient outcomes.

         Before issuing the claims of the asserted patents, the patent office reviewed numerous

  existing computer-based approaches for designing custom medical devices. The patent office

  also reviewed many of the claims and found the subject matter patent eligible under the Alice

  framework. (Ex. 4 (’206 File History Excerpts); Ex. 5 (’920 File History Excerpts); Ex. 6 (’302

  File History Excerpts); Ex. 7 (’617 File History Excerpts).)

  V.     LEGAL STANDARDS

          The pleadings in a patent case are governed by Rule 8, which requires only “a short and

  plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

  8(a)(2). To survive a motion to dismiss under Rule 12(b)(6), a complaint need only “state a

  claim to relief that is plausible on its face” and plead content “that allows the court to draw the



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  reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

  556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

         In evaluating a motion to dismiss, the Court must “accept all factual allegations as true,

  construe the complaint in the light most favorable to the plaintiff, and determine whether, under

  any reasonable reading of the complaint, the plaintiff may be entitled to relief.” Fowler v.

  UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (quoting Phillips v. County of Allegheny,

  515 F.3d 224, 233 (3d Cir. 2008)). For a complaint alleging infringement and attaching the

  patents-in-suit, the “specification’s statements about the purported invention” must also be

  accepted as true, and courts are “not free to accept [the] [d]efendant’s contrary attorney

  argument.” MAZ Encryption Techs. LLC v. Blackberry Corp., C.A. No. 13-304-LPS, 2016 U.S.

  Dist. LEXIS 134000, at *15 (D. Del. Sept. 29, 2016).

         Patent eligibility under 35 U.S.C. § 101 is an issue of law that may involve “underlying

  issues of fact.” Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018). Where, as here, a

  motion to dismiss asserts the affirmative defense of patent invalidity under § 101, “dismissal is

  permitted only if the well-pleaded factual allegations in the Complaint, construed in the light

  most favorable to the plaintiff, suffice to establish the defense.” Kaavo Inc. v. Amazon.com Inc.,

  C.A. No. 15-638-LPS-CJB, 2016 U.S. Dist. LEXIS 152336, at *6 (D. Del. Nov. 3, 2016); see

  also Victaulic Co. v. Tieman, 499 F.3d 227, 234 (3d Cir. 2007). “Rarely can a patent

  infringement suit be dismissed at the pleading stage for lack of patentable subject matter.”

  Bristol-Myers Squibb Co. v. Merck & Co., C.A. No. 15-560-GMS, 2016 U.S. Dist. LEXIS

  34292, at *7 n.1 (D. Del. Mar. 17, 2016) (emphasizing issued patent “entitled to a presumption

  of validity under 35 U.S.C. § 282”).




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  VI.    THE ASSERTED PATENTS ARE DIRECTED TO ELIGIBLE SUBJECT
         MATTER UNDER § 101.

         Under the first step of the § 101 framework, the Court must determine whether the claims

  are “directed to” ineligible subject matter, such as “abstract ideas” (the only ineligible subject

  matter Defendants allege here). Alice Corp. Pty. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355

  (2014). This inquiry “cannot simply ask whether the claims involve a patent-ineligible concept,

  because essentially every routinely patent-eligible claim involving physical products and actions

  involves a law of nature and/or natural phenomenon . . . .” Enfish, LLC v. Microsoft Corp., 822

  F.3d 1327, 1335 (Fed. Cir. 2016); see also Mayo Collaborative Servs. v. Prometheus Labs., Inc.,

  132 S. Ct. 1289, 1293 (2012) (“[A]ll inventions at some level embody, use, reflect, rest upon, or

  apply laws of nature, natural phenomena, or abstract ideas.”). “Rather, the ‘directed to’ inquiry

  applies a stage-one filter to claims, considered in light of the specification, based on whether

  ‘their character as a whole is directed to excluded subject matter.’” Enfish, 822 F.3d at 1335

  (quoting Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015)).

  “[T]he specification [is] helpful in illuminating what a claim is ‘directed to.’” Chamberlain

  Grp., Inc. v. Techtronic Indus. Co., 935 F.3d 1341, 1346 (Fed. Cir. 2019) (citation omitted).

         “If the claims are directed to a patent-eligible concept, the claims satisfy § 101 and we

  need not proceed to the second step.” Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc., 880

  F.3d 1356, 1361 (Fed. Cir. 2018). But if analysis under the second step is necessary, the Court

  “examine[s] the elements of the claim to determine whether it contains an inventive concept

  sufficient to transform the claimed abstract idea into a patent-eligible application.” Alice, 134 S.

  Ct. at 2357 (internal citation omitted). “The ‘inventive concept’ may arise in one or more of the

  individual claim limitations or in the ordered combination of the limitations.” BASCOM Global

  Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1349 (Fed. Cir. 2016).



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         A.      The Osteoplastics Patents Claim Specific Improvements Over Existing
                 Computer-Based Methods of Design and Fabrication.

         When analyzing computer-based inventions, such as those here, claimed subject matter is

  patentable where it focuses on a “specific asserted improvement in computer capabilities”

  instead of on “a process that qualifies as an ‘abstract idea’ for which computers are invoked

  merely as a tool.” Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299, 1303 (Fed. Cir. 2018); see

  also Uniloc USA, Inc. v. LG Elec. USA, Inc., 957 F.3d 1303, 1307 (Fed. Cir. 2020) (“We have

  routinely held software claims patent eligible under Alice step one when they are directed to

  improvements to the functionality of a computer or network platform itself.”).

         The existing computer-based methods at the time of the invention failed to provide

  custom medical devices with a precise fit to the existing patient anatomy. For example,

  “conventional” design methods that required humans to determine the device shape manually

  (e.g., “from scratch”) with the aid of a computer program were unlikely to produce a device with

  the proper shape. Similarly, medical devices produced by simply using pre-determined shapes

  (e.g. mirror images) also failed to match a patient’s unique anatomical contours.

         The Osteoplastics patents improved on these approaches by using novel computer-based

  techniques to design and fabricate a medical device that precisely fits the existing anatomy and

  “requires only placement and minimal fixation by the attending clinician.” (E.g., 4:26-29.)

  Claim 1 of the ’206 patent, which is the “representative” claim addressed in Defendants’ motion,

  provides an example of a method with these improved techniques:

               A computer implemented method of obtaining data for determining a 3-
         dimensional shape of a medical device, the method comprising:

                  (a) obtaining computer readable image data of a target tissue wherein the
         target tissue comprises two portions, a portion with a defect and a portion without
         a defect;




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                (b) rendering from the image data a computer-generated 3-dimensional
         representation of the target tissue;

                (c) superimposing a three-dimensional template onto the 3-dimensional
         representation, wherein the three-dimensional template represents a normative
         shape of an anatomical surface of the target tissue; and

                 (d) deforming the three-dimensional template to the computer-generated
         3-dimensional representation to determine the 3-dimensional shape of the medical
         device.


         The computer-implemented method of claim 1 of the ’206 patent first recites the step of

  obtaining computer readable image data of target tissue. The claim, however, requires that the

  data comprises two portions—a portion that includes the patient’s defect and a portion of the

  patient’s anatomy without a defect. The claim then recites the step of rendering a computer-

  generated 3-dimensional representation of the target tissue.

         Next, the claim recites to the step of “superimposing a three-dimensional template onto

  the 3-dimensional representation.” As the claim indicates, the three-dimensional template

  represents a “normative” shape of an anatomical surface of the target tissue. In the visual sense,

  the term “superimposing” generally means to place one thing over another. But in the context of

  the claim language, which is directed to a computer-implemented method, this visual definition

  is nonsensical and does not reflect the meaning of the term because both the patient image and

  template are computer data. (E.g., 3:38-42, 10:65-67, 20:55-58, 22:28-38, 23:64-67; see also Ex.

  1 ¶ 75.) To “superimpose” the patient’s image data and the template data, the computer

  correlates the homologous anatomical features of the template and the representation of the

  target tissue. (E.g., 2:46-3:7, 6:39-44, 6:64-7:3, 29:25-46; see also Ex. 1 ¶ 76-78.) While the

  computer may also display these images on a screen and the user may be able to interact with

  them, the “superimposing” of the data is performed by the computer.




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         The patent specifications confirms this application of the “superimposing” term. (E.g.,

  2:46-3:7, 3:38-42, 6:39-44, 6:64-7:3, 10:65-67, 20:55-58, 22:28-38, 23:64-67, 29:25-46; see also

  Ex. 1 ¶¶ 76-78.) Several examples refer to “superimposing” where the anatomical features of the

  template correlate with those of the representation of the patient’s target tissue. For example, the

  specification describes how “superimposition of the . . . deformable wireframe template [begins]

  with the identification of Type II landmarks” and that “the ridge curve and geodesic template

  wireframe is warped to the surface's Type II landmarks.” (E.g., 3:38-42.) It also discloses

  superimposing a wireframe template with landmarks on a “graphical manifold.” (E.g., 22:28-38,

  Figs. 21A-21B, 23:64-67, see also 3:38-42, 10:65-67, 20:55-58.) The specification also confirms

  that the template is superimposed based on homologous anatomical features. (E.g., 2:46-3:7,

  5:47-49, 5:56-64, 6:39-44, 6:64-7:3, 10:45-47, 23:64-67, 29:25-46, 41:60-63, 42:4-6; see also

  Ex. 1 ¶¶ 78, 83.) For example, it describes the “initially manual superimposition of a . . .

  deformable template to the perspectively rendered surface of interest at the Type II landmarks”

  in which a “superimposed ridge curve-based deformable template defines a homology mapped

  parametric surface.” (E.g., 2:46-3:7, 29:25-46, see also 6:64-7:3.) In addition, some

  embodiments disclose that “[t]he template establishes the homology for these three types of

  surface matching (i.e., mirroring, one-to-one fit, averaging).” (E.g., 6:39-44.)

         Defendants fixate on the limited “manual” aspects of these disclosed embodiments,

  wrongly arguing that a human could perform the claimed “superimposing” steps. (E.g., Br. at

  17.) Although most software allows human interaction, the specification repeatedly discloses

  that these embodiments of the invention use “semi-automatic” or “unsupervised” algorithms to

  perform the claimed “superimposing” step. (E.g., 6:6-20, 6:45-53, 29:25-46.). Defendants also




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  fail to acknowledge that the “superimposing” step requires a computer capable of running the

  necessary specialized algorithms. (E.g., 2:46-3:7, 6:64-7:3, 29:25-46; see also Ex. 1 ¶¶ 78, 83.)

         Several claims, including claim 1 of the ’206 patent, also recite the step of “deforming” a

  template to determine the shape of the implant or medical device. Some claims further specify

  that the template is deformed to “match the anatomical landmarks” on the representation of the

  patient’s image. (E.g., ’920 claim 1, ’302 claim 1.) In the claims, “deforming” requires the

  shape of the template be changed in three dimensions so that the anatomical features of the

  template match the corresponding anatomical features of the representation of the patient’s tissue

  and, importantly, maintain the homology between those anatomical features. (E.g., 2:46-3:7,

  3:38-42, 6:39-44, 29:25-46; see also Ex. 1 ¶ 87-88.)

         The specification confirms the meaning of “deforming” in the claims. (E.g., 2:46-3:7,

  3:38-42, 6:39-44, 29:25-46; see also Ex. 1 ¶¶ 88-90.) For example, the specification describes

  embodiments where “[o]nce the template is warped, points on the template are mapped, in a step

  H, to points on the external surface of the normative shape of the bone of interest 16.” (E.g.,

  10:65-67, see also 20:55-58.) The specification discloses deforming a three-dimensional

  wireframe template to corresponding landmarks on a three-dimensional “graphical manifold”

  representing patient tissue. (E.g., 22:28-38, Figs. 2, 21A-21B; 23:64-67.) The specification

  further confirms that the deforming step is carried out using complex algorithms interacting with

  three-dimensional objects (e.g., wireframe and ridge curve-based templates). (2:46-3:7, 3:38-42,

  6:39-44, 10:58-67, 20:55-58, 22:28-38, 23:64-67, 29:25-46, Figs. 21A-21B; Ex. 1 ¶¶ 88-90.) For

  example, to fit a wireframe or ridge curve-based template to a surface as described in the

  described embodiments, it is necessary to change the shape of the template in three dimensions.

  (2:46-3:7, 6:39-44, 10:58-65, 29:25-46; Ex. 1 ¶ 90.) The shape of the template may be changed




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  using techniques such as, e.g., “warping” or “a best fit process. (E.g., 10:45-49, see also 43:5-7.)

  Moreover, the specification confirms that the deforming process maintains homology between

  the anatomical features: “[t]he template establishes the homology for . . . surface matching.”

  (6:39-44; see also Ex. 1 ¶¶ 84-85.)

         B.      Defendants Improperly Oversimplify the Claims By Generalizing Them and
                 Eliminating Their Specific Requirements.

         Because the Osteoplastics claims set forth tangible, concrete steps that improved on

  existing computer-based methods, Defendants turn to generalizations of the claims to give the

  appearance of an abstract idea. This effort to strip the claims to nothingness is the exact

  approach the Supreme Court cautioned may “swallow all of patent law” because “[a]t some

  level, ‘all inventions . . . embody, use, reflect, rest upon, or apply laws of nature, natural

  phenomena, or abstract ideas.’” Alice, 134 S. Ct. at 2354 (quoting Mayo, 132 S. Ct. at 1293).

         Defendants’ generalizations gloss over the context for the “superimposing” and

  “deforming” steps, applying generic interpretations that fail to acknowledge the specialized

  algorithms or homology mapping required by the claims. (E.g., Br. at 1-2, 5-6, 8, 13, 15, 17.)

  For example, Defendants wrongly represent to the Court (at 1-2) that the claims cover any

  physician who “tinkers” with a shape on a computer screen or simply “envisioning the shape of

  an implant.” Divorcing the claim terms from any context provided by the claims or the

  specification, Defendants (at 6-8, 13) incorrectly equate the “deforming” step with “adjusting an

  image of a normal piece of tissue or bone to fit in a hole,” or “artistically” molding a physical

  implant. Defendants also make other nonsensical arguments, such as the claimed methods

  covering the human “mental process of looking at an image of a bone that is missing a piece”

  and visualizing the necessary implant to fill in the missing piece. (E.g., Br. at 5, 13.)




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         The claim language, however, requires that a computer perform the claimed steps.

  Indeed, the claims are directed to computer-based techniques that cannot (and never could) be

  performed by humans. For example, a human cannot determine a precise match between the

  curved surfaces and/or anatomical landmarks of a normative 3-dimensional template and a 3-

  dimensional image of patient data. Likewise, a human cannot deform a normative template in

  three dimensions to determine the best possible match for the existing anatomy while

  maintaining homology. These “superimposing” and “deforming” steps are not a conventional

  human practice merely transferred to computers. Defendants’ view—that a physician could

  “envision[] the desired shape of the implant”—makes little sense and represents the failed

  approach that first caused the medical field to use computer-based methods to design devices and

  that later led to the Osteoplastics inventions. (See Br. at 2, 5, 13.)

         Accordingly, Defendants’ allegations of abstract idea based on human activity fails.

  Contentguard Holdings, Inc. v. Amazon.com, Inc., No. 13-01112, 2015 WL 5853984, at *4-5

  (E.D. Tex. Oct. 5, 2015) (finding a claim could not be practiced by a human because a library

  could not prevent unauthorized use, it could only punish a patron after the fact); cf. Execware,

  LLC v. BJ’s Wholesale Club, Inc., No. 14-233-LPS, 2015 WL 4275314, at *14 (D. Del. July 15,

  2015) (adopted in part, rejected in part) (finding Defendants’ pen and paper analogy flawed

  because it “did not accomplish the goals of the invention or produce its actual effect”);

  California Inst. of Tech. v. Hughes Commc’ns Inc., 59 F. Supp. 3d 974, 994-95 (C.D. Cal. 2014)

  (noting that many inventions can be theorized with a human, pencil, and paper, “but pencil and

  paper can rarely produce the actual effect of the invention”).

         Defendants’ characterization of the claims as merely “collecting, displaying, and

  manipulating data” is also incorrect. (E.g., Br. at 10, 16). Here again, Defendants sweep over




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  the claim language, the specific techniques claimed to design a medical device that fits the

  patient precisely, and the improvements over existing computer-based design methods.

  Defendants’ incorrect characterization of the claims cannot satisfy their burden on the first Alice

  step. See, e.g., MAZ Encryption, 2016 U.S. Dist. LEXIS 134000, at *18 (rejecting arguments for

  “oversimplif[ying] key inventive concepts” and “downplay[ing] an invention’s benefits,” and

  admonishing the court “must look to the claims as an ordered combination, without ignoring the

  requirements of the individual steps” (internal citations omitted)). At a minimum, Defendants’

  argument creates a factual dispute regarding what is routine and conventional that cannot be

  resolved on a motion to dismiss. Berkheimer, 881 F.3d at 1369-70; Aatrix Software Inc. v.

  Green Shades Software Inc., 882 F.3d 1121, 1125-26 (Fed. Cir. 2018).

         C.      The Osteoplastics Claims Are Similar to Those Found Eligible By the
                 Federal Circuit and the Court.

         The Federal Circuit has repeatedly confirmed that software can make patent-eligible

  improvements to computer technology, and that related claims are eligible as long as they are

  directed to non-abstract improvements to the functionality of a computer or network platform.

  See Customedia Techs., LLC v. Dish Network Corp., 951 F.3d 1359, 1364 (Fed. Cir. 2020)

  (collecting cases). The claims of the Osteoplastics patents are similar to other claims that the

  Federal Circuit found patent-eligible under step one of the Alice framework.

         For example, in CardioNet, LLC v. InfoBionic, Inc., the claims covered a device for

  “detecting and reporting the presence of atrial fibrillation or atrial flutter in a patient.” 955 F.3d

  1358, 1363-65 (Fed. Cir. 2020). The Federal Circuit found no suggestion in the patent that

  doctors were “previously employing” the claimed techniques. Id. at 1370. Nor did the record

  “suggest[] that the claims merely computerize pre-existing techniques for diagnosing atrial

  fibrillation and atrial flutter.” Id. “[T]he written description of the [patent-at-issue] confirms



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  that the asserted claims are directed to a specific technological improvement—an improved

  medical device that achieves speedier, more accurate, and clinically significant detection of two

  specific medical conditions out of a host of possible heart conditions.” Id.

         Similarly, in SRI International, Inc. v. Cisco Systems, Inc., the Federal Circuit found

  claims patent eligible that improved computer functionality by “providing a network defense

  system that monitors network traffic in real-time to automatically detect large-scale attacks.”

  930 F.3d 1295, 1303 (Fed. Cir. 2019). The claims required “network monitors in the enterprise

  network” to detect suspicious activity, generate reports of the activity, and automatically receive

  and integrate those reports. Id. at 1301. “[T]he representative claim improve[d] the technical

  functioning of the computer and computer networks by reciting a specific technique for

  improving computer network security,” and was not directed to an abstract idea. Id. at 1304.

         In Finjan, Inc. v. Blue Coat System, Inc., the claims recited a method of providing

  computer security by generating a “security profile” that identifies suspicious code that performs

  “potentially hostile operations.” 879 F.3d 1299, 1303-04 (Fed. Cir. 2018). Unlike traditional

  systems that “simply look[ed] for the presence of known viruses,” the claimed method could

  identify “potentially dangerous or unwanted operations.” Id. at 1304. The claimed method was

  directed to a “non-abstract improvement” over the prior art because it employed “a new kind of

  file that enable[d] a computer security system to do things it could not do before.” Id. at 1305.

         In McRO, Inc. v. Bandai Namco Games Am. Inc., the claims covered a “method for

  automatically animating lip synchronization and facial expression of three-dimensional

  characters.” 837 F.3d 1299, 1307 (Fed. Cir. 2016). The Federal Circuit held that the claims

  were directed to “a specific asserted improvement in computer animation, i.e., the automatic use

  of rules of a particular type,” which was confirmed by the patent’s written description. Id. at




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  1313-14. The court rejected the argument that the claims “simply use a computer as a tool to

  automate conventional activity” because there was no evidence in the record that “the process

  previously used by animators [wa]s the same as the process required by the claims.” Id. at 1314.

         And in Enfish, the Federal Circuit held that claims regarding a self-referential table for a

  computer database were not abstract, even though the table ran on a general-purpose computer,

  because the claims improved the storage and retrieval of data and, thus, were “directed to a

  specific implementation of a solution to a problem.” Enfish, 822 F.3d at 1337-39. The court

  found the “plain focus of the claims is on an improvement to computer functionality itself, not on

  economic or other tasks for which a computer is used in its ordinary capacity.” Id. at 1336.

         The Federal Circuit has also found claims that improve computer functionality patent

  eligible in many other cases. E.g., Data Engine Techs. LLC v. Google LLC, 906 F.3d 999, 1007–

  08 (Fed. Cir. 2018) (finding claims patent eligible that recited a “specific method for navigating

  through three-dimensional electronic spreadsheets” because they improved the computer’s

  functionality); Core Wireless Licensing S.A.R.L. v. LG Electronics, Inc., 880 F.3d 1356, 1359–63

  (Fed. Cir. 2018) (finding claims directed to an improved user interface that enabled users to more

  quickly access stored data and programs in small-screen electronics patent eligible because they

  “improve[d] the efficiency of using the electronic device by bringing together a limited list of

  common functions and commonly accessed stored data, which can be accessed directly from the

  main menu”); Thales Visionix Inc. v. United States, 850 F.3d 1343, 1348-49 (Fed. Cir. 2017)

  (finding disclosing an inertial tracking system for tracking the motion of an object relative to a

  moving time reference were not directed to an abstract idea because the claims specified “a

  particular method of using the raw data from the sensors” more accurately and with fewer

  complications than conventional methods); Visual Memory LLC v. NVIDIA Corp., 867 F.3d




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  1253, 1257-60 (Fed. Cir. 2017) (finding the claims were “directed to an improved computer

  memory system, not to the abstract idea of categorical data storage”).

         Like the claims that deemed patent eligible by the Federal Circuit, Osteoplastics claims

  address and improve upon pre-existing computer-based medical device design methods. The

  patents’ Background Sections discuss “methods of fabricating prosthetic implants” and the goal

  of obtaining a custom medical device that precisely matches the patient’s anatomy. (4:29-53.)

  Nowhere do the patents state a desire to replicate human activity or mental processes. Indeed,

  humans could not performed the claimed method. Nor would there be an advantage in

  replicating a human design process that produced undesirable devices. Rather the invention

  seeks to solve shortcomings that arose with the advent of the computerized design of custom

  medical devices. The claimed solution recites specific, discrete computer-based steps to design

  and fabricate a custom medical device with the most accurate fit for the patient anatomy.

         Defendants’ reliance on Align is misplaced. See Align Tech., Inc. v. 3Shape A/S, 339 F.

  Supp. 3d 435, 453 (D. Del. 2018). The Osteoplastics claims go far beyond the “abstract concept

  of modifying a finish line of a dental prosthesis” that the Align court found patent ineligible. Id.

  at 451-452. Instead, the claims are similar to those the Align court affirmed as patentable

  because they covered a specific improvement that solved the specific problem of preventing

  degradation of a 3D model of a tooth. Id. at 450. Defendants argue (at 12) that the patentable

  techniques at issue in the Align case were “not a technique transferrable to the manual world.”

  But this is also true of the “superimposing” and “deforming” techniques here that can only be

  performed using specialized computer algorithms. Moreover, Defendants argue (at 12) that

  techniques found patentable “allegedly used virtual objects to create a new type of physical

  implement [i.e. a dental template] . . . .” Align, 339 F. Supp. 3d at 456-457. Again, the




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  Osteoplastics claims provide a similar inventive concept that uses virtual objects (i.e., normative

  templates and 3D images of patient anatomy) to create a new type of physical implement (i.e.

  improved medical devices based on anatomical landmarks and maintaining homology).

         D.      Defendants’ Motion Raises Material Claim Construction and Factual
                 Disputes That Cannot Be Resolved Under Rule 12(b)(6).

         The Court “may decline to rule on a Rule 12 motion before engaging in claim

  construction, or may deny the motion if it appears there are potential constructions of key claim

  terms that, if adopted, would render the claims subject matter eligible.” Versata Software, Inc. v.

  NetBrain Techs., Inc., C.A. No. 13-676-LPS-CJB, 2015 WL 5768938, at *2 (D. Del. Sept. 30,

  2015) (internal citations omitted). Claim construction is necessary in a § 101 analysis because

  “the determination of patent eligibility requires a full understanding of the basic character of the

  claimed subject matter.” Bancorp Servs., L.L.C. v. Sun Life Assurance Co. of Canada (U.S.),

  687 F.3d 1266, 1273-74 (Fed. Cir. 2012).

         Defendants do not propose claim constructions for any terms. Instead, they argue

  incorrectly that “superimposing” and “deforming” a “template” in claim 1 of the ’206 patent are

  “generic steps . . . with no concrete result other than data that may be used ‘to determine the 3-

  dimensional shape of the medical device.’” (E.g., Br. at 9.) While it is unlikely Defendants will

  advocate this view when addressing claim construction and infringement later in the case, their

  current position reveals a material dispute. As explained previously, the “superimposing” and

  “deforming” terms are not generic and describe specific techniques that improved over existing

  computer-based methods. Osteoplastics submitted claim construction briefing and evidence on

  these terms in the Colorado litigation, which Defendants never address. The proper construction

  of these terms undercuts Defendants’ conclusory, attorney argument that the claims are generic,

  do not produce a concrete result, and set forth abstract ideas.



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         Additionally, “[w]hether something is well-understood, routine, and conventional to a

  skilled artisan at the time of the patent is a factual determination.” Berkheimer, 881 F.3d at

  1369-70. The Federal Circuit has confirmed that determining what is “routine and

  conventional”—which Defendants again allege based on attorney argument that is contradicted

  by the evidence of record—cannot be decided on a motions to dismiss or summary judgment.

  Berkheimer, 881 F.3d at 1369-70; Aatrix Software, 882 F.3d at 1125-26. Because factual

  disputes exist over the conventionality of Osteoplastics’ invention, the disputes must be resolved

  in favor of Osteoplastics and Defendants’ motion should be denied. Aatrix Software, 882 F.3d at

  1125 (patent eligibility may only be resolved under Rule 12(b)(6) when “no factual allegations

  that, taken as true, prevent resolving the eligibility question as a matter of law”).

         E.      Defendants’ Motion Focuses On One Claim and Fails to Address the Validity
                 of Other Claims in the Seven Osteoplastics Patents.

         “Defendants bear the burden to demonstrate that their asserted Section 101 defense is

  well taken as to each claim.” Versata Software, 2015 WL 5768938, at *4. Where a motion

  challenges the patent eligibility of multiple patent claims based on the analysis of a single claim,

  that single claim must be representative of all challenged claims. See Cronos Techs., LLC v.

  Expedia, Inc., C.A. No. 13-1538-LPS, 2015 WL 5234040, at *2 (D. Del. Sept. 8, 2015).

  Defendants must show the analyzed claim is representative by “articulat[ing] why each of” the

  challenged claims “relates to the same abstract idea purportedly embodied by” the analyzed

  claim and “explain[ing] why each of” the challenged claims “fails to include an inventive

  concept.” Id. at *3. Where “Defendants focus[] the lion’s share of their attention on particular

  claims for each patent” and give “negligible attention to the remainder of the claims,” the motion

  should be denied as to the unanalyzed claims. Versata Software, 2015 WL 5768938, at *4.




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         As an initial matter, Defendants are incorrect (at 16) that the complaints only assert

  “claim 1 of each of the Asserted Patents.” The passage identified by Defendants actually states

  that they infringe “one or more claims of each of the Asserted Patents” and further states the

  seven charted claims are examples. (E.g., D.I. 9 at ¶ 31.6) Defendants’ infringement

  encompasses many other claims, which Osteoplastics will identify in its infringement

  contentions at the appropriate time. In any event, Defendants focus their analysis on claim 1 of

  the ’206 patent, but offer only conclusory assertions that this claim represents every other claim

  in the seven Osteoplastics patents. (Br. at 4-5, 16-18.) This falls well short of satisfying the

  established standard. See Cronos Techs., 2015 WL 5234040, at *2.

         Moreover, the other claims include significant differences that prevent any one claim

  from being representative. See Berkheimer, 881 F.3d at 1365-66. For example, the “anatomical

  landmarks” recited in the claims of the ’302, ’191, and ’920 patents further contradict

  Defendants’ characterization that the “superimposing” and “deforming” steps are abstract

  concepts. These “landmarks” are used in embodiments of the algorithms that perform the

  “superimposing” and “deforming” steps that appear in the claims and specification. Several

  dependent claims also require the image of the patient anatomy consist of “image slices,” “scan

  lines,” or “voxels.” (E.g., ’557 claims 2-3, ’920 claims 8-10, ’206 claims 2-3, ’302 claims 2-3,

  ’191 claims 3-5, ’617 claims 3-4, ’756 claim 3.) These distinct types of image data require

  different processing to render a 3D representation of the patient anatomy. For example, image

  slices are 2D data while voxels are 3D data, so unlike with voxels, the computer must convert




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    Unless otherwise indicated, for the Court’s convenience all docket citations are specific to
  the -406 action against the DePuy Defendants. The Amended Complaints in the -405 action
  (naming Conformis) and the -407 action (naming Zimmer Biomet Defendants) are docketed as
  D.I. 7 and D.I. 8, respectively.


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  image slices into 3D data before it can create a 3D representation. Other dependent claims

  require determining the shape of the medical device as “a function of the shapes of the defective

  portion and the template,” “establishing correspondence between the mapped highly curved

  portions” of the patient anatomy and the template, or “registering data from the mapped external

  surface of the non-defective portion of the target tissue to normative data for the target tissue

  prior to superimposing the template.” (’920 claims 4 and 6-7, ’191 claims 2, 11 and 13, ’617

  claim 2.) These claims require specific relationships between the shapes of the patient anatomy,

  template, and medical device that further limit the methods in the independent claims. Other

  dependent claims require fabricating a medical device using a “3D rendering device,” which is

  specific equipment that distinguishes over what Defendants allege (at 18) to be generic

  “fabrication” requirements. (’920 claim 15, ’191 claim 8.) Defendants cannot carry their burden

  with respect the unanalyzed claims of the ’206 patent and its § 101 challenge for those claims

  can be denied. See Versata Software, 2015 WL 5768938, at *4.

         F.      The Osteoplastics Patents Claim an Inventive Concept.

         Even if Defendants could demonstrate an abstract idea under the first Alice step, which

  they cannot, the Osteoplastics patents claim an inventive concept. The Federal Circuit has

  consistently held that an “inventive concept” exists when a claim “recite[s] a specific, discrete

  implementation of the abstract idea” where the “particular arrangement of elements is a technical

  improvement over [the] prior art.” BASCOM Global, 827 F.3d at 1350. The claims here recite

  specific techniques for designing custom medical devices that require, among other things,

  superimposing and deforming. These are specific computer techniques that are narrowly-tailored

  to achieve a medical device shape that fits the patient’s anatomy.

         Defendants ignore the inventive concepts and improvements captured by the

  Osteoplastics claims, dismissing references to “superimposing” a normative template to a patient


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  image and “deforming” the template to fit the patient anatomy as “[m]erely requiring the

  selection and manipulation of information.” Defendants (at 13-16) cannot negate the vast

  improvement over the prior art by summarizing the claims in a way that reads out the benefits of

  the “superimposing” and “deforming” steps. The § 101 inquiry does not occur in a vacuum. The

  improvements over existing computer-based methods discussed in the specification and

  identified throughout the prosecution history demonstrate that the claims set forth a specific

  implementation and do not merely capture an abstract idea. For the reasons explained

  previously, the combination of claim elements amounts to something significantly more than

  merely determining the shape of a medical device by tinkering with a computer.

         Where previous design methods had created medical devices that caused lengthy

  surgeries and post-operative complications, the claims represent a significant improvement of

  both the quality of custom medical devices and improved surgical outcomes. Defendants’

  “surgical mesh” example actually illustrates the claimed inventive concept. (See Br. at 15.)

  Unlike the Osteoplastics claims, the physician in this prior art method “artistically” molds

  surgical mesh to a 3D anatomical model of the patient anatomy. (Id.) In doing so, the physician

  guesses as to the shape of the surgical mesh, based on a physical/mental comparison between the

  defective portion of the anatomy and the mirror-image anatomical model. The method requires a

  physician to make free-hand adjustments to the mesh, guessing how to bend and shape the mesh

  to correct for any inconsistencies between the model and the patient. In contrast, the claimed

  computerized methods determine the precise anatomical contours for a medical device, using

  techniques that vastly improved on this physician-based method and other attempts to design

  medical devices with a computer. Cf. Diamond v. Diehr, 450 U.S. 175 (1981) (finding patent

  eligible a combination of claim elements used to eliminate the guesswork with existing,




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  inaccurate industrial process for curing synthetic rubber). Defendants’ other prior art examples

  fare no better, as the “aligning” and “smoothing” steps described in these references fail to

  disclose the particular inventive steps discussed at length previously. (Br. at 14-15, see also Br.

  at 7-8.) They actually confirm that Osteoplastics’ claims are narrowly-tailored and provide a

  specific improvement over prior art computer-based methods.

         G.      The Osteoplastics Claims Do Not Preempt all Methods of Computer-Based
                 Medical Device Design and Fabrication.

         The concern that drives the exclusion of abstract ideas as patentable subject matter is one

  of preemption. Alice, 134 S. Ct. at 2354, 2358 (“the pre-emption concern . . . undergirds our §

  101 jurisprudence”); Bilski v. Kappos, 561 U.S. 593, 611-12 (2010) (patenting an abstract idea

  “would pre-empt the use of this approach in all fields, and would effectively grant a monopoly

  over an abstract idea”). The second Alice step focuses on whether the claims “disproportionately

  tie up the use of the underlying ideas.” Cronos, 2015 WL 5234040, at *2 n.3 (quoting Alice).

         While the claims may offer the best solution available for determining the 3D shape of a

  custom medical device, they came after other parties spent years developing computer-based

  methods for designing custom devices and leave other parties ample room in the future to

  practice and innovate in the field. See Intellectual Ventures I LLC v. Mfrs. & Traders Trust Co,

  76 F. Supp. 3d 536, 548 (D. Del. 2014) (determining the claims “do not preempt all applications

  of providing customized web pages as they recite a specific method of customizing web pages”).

  In fact, Defendants contradict their own argument that the claims “monopolize the basic process

  of . . . envisioning the shape of an implant” by describing several prior art approaches that were

  discussed in the specification and file histories of the Osteoplastics patents. (E.g., Br. at 5-8, 14-

  15.) Moreover, there can be no dispute that the claims do not cover methods where a medical

  device is designed on a computer “from scratch,” i.e. without the use of a template. Likewise,



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  methods that position device shapes over patient images but do not “superimpose” or “deform”

  those shapes, while inferior, also fall outside the scope of claim 1 of the ’206 patent. This

  includes the prior art methods Defendants describe that “smooth” or “align” a shape without

  “superimposing” or “deforming.” (E.g. Br. at 14-15.) These tangible, concrete alternatives

  demonstrate that the Osteoplastics claims do not create any concerns of preemption.

  VII.   THE AMENDED COMPLAINTS IN ALL THREE ACTIONS PROPERLY
         STATE A CLAIM FOR INFRINGEMENT UNDER § 271(G).

         The allegations and attached claim charts in all three of Osteoplastics’ Amended

  Complaints are sufficient to state a claim for infringement under § 271(g). E.g., Bayer AG v.

  Housey Pharm., Inc., 340 F.3d 1367, 1376 (Fed. Cir. 2003). In Bayer, the Federal Circuit

  explained that infringement under § 271(g) reaches methods “used directly in the manufacture of

  the product.” Id. at 1378. Osteoplastics’ infringement allegations identify the methods in the

  asserted patents used in the manufacture of Defendants’ infringing products. For example, the

  Amended Complaint for the DePuy Defendants identifies the ProPlan and TruMatch products

  they manufacture using the claimed methods. (E.g., D.I. 9 at ¶ 30-31; D.I. 9-8.)

         Defendants are wrong (at 18-20) that the claims infringed under § 271(g) are used as “a

  predicate process to identify the product to be manufactured.” Defendants use these methods

  directly in the manufacturing process for the infringing products. Bayer, 340 F.3d at 1378.

  Moreover, Defendants admit (at 20) that claim 1 of the ’191 patent requires the fabrication of an

  implant and do not explain (or even address) why this claim—or any of the other numerous

  claims disclosing the fabrication and manufacture of medical devices, such as ’920 claim 15 or

  ’617 claim 8—does not satisfy § 271(g) under Federal Circuit precedent.

         Several courts have also held that digital creations can constitute products within the

  meaning of § 271(g). E.g., CNET Networks, Inc. v. Etilize, Inc., 528 F. Supp. 2d 985 (N.D. Cal.



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  2007); Ormco Corp. v. Align Tech., Inc., 609 F. Supp. 2d 1057 (C.D. Cal. 2009). In CNET

  Networks, the patent claimed methods and systems for automatically creating an electronic

  catalog of product information gathered from various internet websites. The digital catalogue

  was deemed a product under § 271(g) because the infringing method was used to create a

  product (the catalogue) that was subsequently imported into the United States. The court

  distinguished Bayer because it dealt with an infringing process for the service of transmitting

  information to recipients in the United States. Id. Likewise, in Ormco, the court found a three-

  dimensional digital representation of teeth transmitted to recipients was a “‘creation’ produced

  by ‘practicing each step’ of patented process.” 609 F. Supp. 3d 1057 (C.D. Cal. 2009).

  VIII. THE DEPUY AMENDED COMPLAINT PROPERLY STATES A CLAIM FOR
        INFRINGEMENT UNDER § 271(a) AND WILLFUL INFRINGEMENT.

         The purpose of Rule 8’s notice pleading standard is “to give the defendant fair notice of

  what the . . . claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 555 (internal

  quotation marks and citation omitted). Osteoplastics’ Amended Complaint against the DePuy

  Defendants supports a reasonable inference that they are liable for the patent infringement

  Osteoplastics alleges and complies with Rule 8 (which is also true for the other Defendant

  groups that refused to join DePuy’s motion on this ground).

         Defendants incorrectly argue (at 20-22) that the Amended Complaint fails to specify

  which Defendant performs the asserted method claims. At the pleading stage, Osteoplastics need

  only place Defendants on fair notice of the activity accused of infringement. Lifetime Indus.,

  Inc. v. Trim-Lok, Inc., 869 F.3d 1372, 1379 (Fed. Cir. 2017); see also Twombly, 550 U.S. at 555.

  The Amended Complaint satisfies this requirement by alleging that “Defendants” are and have

  been directly infringing the Asserted Patents. The Complaint defines “Defendants” to include

  each of DePuy Synthes, Inc., DePuy Synthes Products, Inc., Medical Device Business Services,



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  Inc., and Synthes, Inc. (See, e.g., D.I. 9 ¶ 30; D.I. 9-8.) Thus, the Complaint alleges that each of

  the entities perform each step of the method claims. The Complaint includes infringement claim

  charts that explain how Defendants perform each step of the method claims when they design

  and manufacture medical devices, such as their ProPlan and TruMatch products. (D.I. 9-8.) This

  includes images from Defendants’ website and product information that further support

  Osteoplastics’ “plausible claims of direct infringement of the asserted method claims.” Valinge

  Innovation AB v. Halstead New England Corp., C.A. No. 16-1082-LPS-CJB, 2017 WL 5196379,

  at *2 (D. Del. Nov. 9, 2017). Defendants’ demand for more detail is unwarranted at this stage.

         Defendants’ concern (at 22) that the Amended Complaint does not allege sufficient detail

  as to how each Defendant performs each of the claimed steps is unfounded and “ask[s] for too

  much.” Lifetime Indus., 869 F.3d at 1379. “There is no requirement for [Osteoplastics] to

  ‘prove its case at the pleading stage.’” Id. (quoting In re Bill of Lading Transmission &

  Processing Sys. Patent Litig., 681 F.3d 1323, 1339 (Fed. Cir. 2012)). Federal Circuit “precedent

  requires only that a complaint place the alleged infringer ‘on notice of what activity . . . is being

  accused of infringement.’” Id. (quoting K-Tech Telecomms., Inc. v. Time Warner Cable, Inc.,

  714 F.3d 1277, 1284 (Fed. Cir. 2013)) (ellipsis in original). Thus, the inquiry is simply whether

  the plaintiff “has provided sufficient information to allow the court to determine plausibility and

  to allow the named defendant to respond to the complaint.” DermaFocus LLC v. Ulthera, Inc.,

  201 F. Supp. 3d 465, 470 (D. Del. 2016) (rejecting argument that direct infringement allegations

  were insufficient for not alleging “how all of the claimed method steps are performed”).

         Defendants are also wrong that Osteoplastics alleges a third party (Materialise) performs

  steps of the claimed method. The Amended Complaint and claim charts specifically allege that

  each of the Defendants uses Materialise software (or software that is materially similar) to




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  perform each of the steps of the claimed methods. (D.I. 9 at ¶ 30; D.I. 9-8.) Osteoplastics never

  states that Materialise itself performed the steps of the claimed method. Instead, Osteoplastics

  cites evidence relevant to Defendants’ products and their use of Materialise software (including

  Mimics) to perform the claimed methods. (E.g., D.I. 9-8 at 2-5.)

         The allegations in the Amended Complaints are consistent with those deemed sufficient

  by the Court. See, e.g., Transcript of Oral Argument Hearing dated Dec. 5, 2017, Hanesbrands,

  Inc. v. Jacques Moret, Inc., C.A. No. 17-595-LPS (Stark, C.J.) (hereinafter “Hanesbrands

  Transcript Order”) at 30:11-31:22 (holding direct infringement adequately pleaded where

  complaint stated exemplary claims with respect to exemplary products). No greater detail is

  required. Defendants’ motion effectively seeks infringement contentions at the pleading stage,

  which is inappropriate, particularly in light of the discovery standard governing disclosure of

  infringement contentions. See Koninklijke Philips N.V. v. ASUSTeK Comput. Inc., C.A. No. 15-

  1125-GMS, 2016 U.S. Dist. LEXIS 147169, at *13-14 (D. Del. Oct. 25, 2016) (emphasizing the

  local rules regarding infringement contentions and finding direct infringement adequately alleged

  where the complaint provided details of at least one infringed claim and examples of one product

  the defendant manufactures or sells performing the identified functions); Hanesbrand Transcript

  Order at 31:11-17 (“Essentially in my view, defendant asks for something analogous or akin to

  infringement contentions to be contained in the complaint . . . . And I’m not persuaded that the

  Supreme Court or the Federal Circuit or any other authority requires that that be done . . . .”).

         Moreover, given the pre-suit communications between the parties, Defendants cannot

  complain about the sufficiency of Osteoplastics’ infringement allegations. In its months-long

  discussions with Defendants, Osteoplastics specifically requested information relating to

  Defendants’ alleged infringing activities. (D.I. 1-9.) Defendants refused, which forced




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  Osteoplastics to file this case alleging infringement on information and belief based on publicly-

  available information and relying on the Federal Circuit’s Hoffman-La Roche line of cases.

  (E.g., D.I. 9 at ¶ 30; D.I. 9-8.) Defendants’ allegations (at 20-22) that the Amended Complaint

  is deficient for lack of specificity is contrary to well-settled law. Hoffmann-La Roche Inc. v.

  Invamed Inc., 213 F.3d 1359, 1361-62 (Fed. Cir. 2000).

         Osteoplastics’ willful infringement claims are also sufficient because they allege pre-suit

  knowledge and infringement of at least three asserted patents. Nothing more is required. Indeed,

  “[a]t the pleading stage, it is not necessary to show that the case is egregious.” Bio-Rad Labs.

  Inc. v. Thermo Fisher Sci. Inc., 267 F. Supp. 3d 500, 501 (D. Del. 2017). Defendants are wrong

  (at 23-24) that Plaintiffs did not sufficiently allege Defendants’ knowledge of infringement. The

  facts alleged by Osteoplastics in the Amended Complaint give rise to a plausible inference of

  pre-suit knowledge, which included a 2017 letter to Defendants with detailed infringement claim

  charts for the ’557, ’920, and ’206 patents. (D.I. 1-9, D.I. 9 at ¶¶ 18, 32-35.) The letter also

  asked Defendants to provide information on their accused methods and any position they might

  have on infringement—information that Defendants refused to provide. (Id.) These facts are

  sufficient to state a claim for willful infringement. See Rhodes Pharm. L.P. v. Indivior, Inc., No.

  16-1308, 2018 U.S. Dist. LEXIS 2622, at *24-25 (D. Del. Jan. 8, 2018); Hanesbrand Transcript

  Order at 32:3-9 (“With respect to willful infringement, I think that again the plaintiff has

  adequately for this stage of the case stated a plausible allegation of willful infringement,

  particularly that after the defendant was on notice of the alleged infringement, they have

  continued to sell allegedly infringing products. I don’t think that more needs to be done.”).

         Defendants’ request (at 23) for the dismissal of the willfulness claim against Synthes, Inc.

  and MDBS are incorrect. Osteoplastics’ 2017 letter was addressed to the DePuy Synthes group




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  of companies, which includes MDBS (formerly known as DePuy Orthopaedics, Inc.), as well as

  Synthes, Inc. (along with the other named Defendants in this case). (D.I. 1-9.) The lawyer for

  the group of companies (Lynn Malinoski) responded to Osteoplastics’ allegations. (D.I. 1-10.)

  Because Defendants operate as a group of companies and were accused of infringement as a

  group of companies, Osteoplastics’ pre-suit correspondence provides sufficient facts giving rise

  to a plausible inference that each of the named Defendants had pre-suit knowledge of its

  infringement of the identified patents.

  IX.    CONCLUSION

         For the reasons set forth above, Osteoplastics’ patents claim eligible subject matter and

  its Amended Complaints are sufficient under Rule 8, as well as Supreme Court and Federal

  Circuit precedent. Osteoplastics respectfully requests that Defendants’ motion to dismiss be

  denied. To the extent, however, that the Court finds any deficiency in Osteoplastics’ Amended

  Complaints, Osteoplastics respectfully requests that it be granted leave to file an amended

  complaint to address such deficiency. Fed. R. Civ. P. 15(a)(2); see also Foman v. Davis, 371

  U.S. 178, 182 (1962); Free Speech Coal., Inc. v. Att’y Gen. of U.S., 677 F. 3d 519, 545 (3d Cir.

  2012); Aatrix Software, 882 F.3d at 1125-26.




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  Dated: July 6, 2020                     FISH & RICHARDSON P.C.



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